
In re Calloway, Michael, applying for writ of certiorari, writ prohibition and mandamus to the Court of Appeal, First Circuit, No. 84-KA-0850; Parish of Terre-bonne, 32nd Judicial District Court, Div. “D”, No. 89531.
Granted. The appeal is reinstated. The case is remanded to the court of appeal with instructions to require defense counsel to file a brief under penalty of contempt and to docket the appeal for disposition in normal course. See State v. Simmons, 390 So.2d 504 (La.1980), State ex rel. Johnson v. McGougan, 433 So.2d 687 (La.1983), State v. Lavene, 343 So.2d 185 (La.1977).
